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                         EXHIBIT K
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                                                                           2013). All reasonable inferences are drawn in the Plaintiffs’
                                                                           favor. League of Women Voters of Chicago v. City of Chicago,
     KeyCite Yellow Flag - Negative Treatment                              757 F.3d 722, 724 (7th Cir. 2014).
Declined to Extend by Hansen v. United Airlines, Inc., N.D.Ill., October
5, 2021
                                                                           As is relevant here, the Court dismissed the Plaintiffs’ first
                      2020 WL 902831                                       amended complaint on April 24, 2019. The Plaintiffs filed
     Only the Westlaw citation is currently available.                     their second amended complaint on July 24, 2019, alleging
United States District Court, N.D. Illinois, Eastern Division.             that Dolly committed minimum wage violations under the
                                                                           Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”),
  Orlandes VANN, Elliot Vann Wills, Demetrious Walker,                     the Illinois Minimum Wage Law, 820 ILCS § 105/1 et seq.
   and all other similarly situated individuals, Plaintiffs,               (“IMWL”), and the Chicago Minimum Wage Ordinance,
                               v.                                          Chicago Mun. Code Chap. 1-24-010 et seq. (“CMWO”).
                 DOLLY, INC., Defendant.                                   Plaintiffs also allege unlawful paycheck deductions under the
                                                                           Illinois Wage Payment and Collection Act, 820 ILCS § 115/1
                              18 C 4455                                    et seq. (“IWPCA”). On August 23, 2019, Dolly filed the
                                  |                                        instant motion to dismiss and strike pursuant to Federal Rules
                          Signed 02/25/2020                                of Civil Procedure 12(b)(6), 12(f), and 23.

Attorneys and Law Firms

Maria De Las Nieves Bolanos, Robin B. Potter, Patrick James                                    LEGAL STANDARD
Cowlin, Potter Bolanos LLC, Nicholas Joseph Kreitman,
                                                                           A motion to dismiss pursuant to Federal Rule of Civil
Gainsberg Law, P.C., Chicago, IL, for Plaintiffs.
                                                                           Procedure 12(b)(6) “tests the sufficiency of the complaint,
Christopher Lepore, Jeannil D. Boji, Perkins Coie LLP,                     not the merits of the case.” McReynolds v. Merrill Lynch &
Chicago, IL, for Defendant.                                                Co., 694 F.3d 873, 878 (7th Cir. 2012). The allegations in
                                                                           the complaint must set forth a “short and plain statement of
                                                                           the claim showing that the pleader is entitled to relief.” Fed.
                 MEMORANDUM OPINION                                        R. Civ. P. 8(a)(2). Plaintiffs need not provide detailed factual
                                                                           allegations, but they must provide enough factual support
CHARLES P. KOCORAS, District Judge:                                        to raise their right to relief above a speculative level. Bell
                                                                           Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). A claim
 *1 Before the Court is Defendant Dolly, Inc.’s (“Dolly”)                  must be facially plausible, meaning that the pleadings must
motion to dismiss Plaintiffs Orlandes Vann (“Vann”), Elliot                “allow ... the court to draw the reasonable inference that the
Vann Wills (“Van Wills”), Demetrious Walker (“Walker”),                    defendant is liable for the misconduct alleged.” Ashcroft v.
and all other similarly situated individuals’ (collectively,               Iqbal, 556 U.S. 662, 678 (2009). The claim must be described
“Plaintiffs”) second amended complaint pursuant to Federal                 “in sufficient detail to give the defendant ‘fair notice of what
Rule of Civil Procedure 12(b)(6). Additionally, Dolly moves                the ... claim is and the grounds upon which it rests.’ ” E.E.O.C.
to strike the Plaintiffs’ class allegations pursuant to Federal            v. Concentra Health Servs., Inc., 496 F.3d 773, 776 (7th
Rules of Civil Procedure 12(f) and 23. For the following                   Cir. 2007) (quoting Twombly, 550 U.S. at 555). “Threadbare
reasons, the Court grants in part and denies in part Dolly's               recitals of the elements of a cause of action, supported by mere
motion to dismiss and grants the motion to strike.                         conclusory statements,” are insufficient to withstand a 12(b)
                                                                           (6) motion to dismiss. Iqbal, 556 U.S. at 678.


                         BACKGROUND                                         *2 Federal Rule of Civil Procedure 12(f) allows the Court
                                                                           to “strike from a pleading ... any redundant, immaterial,
The underlying facts in this case are detailed in our prior                impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f).
opinion. 1 For purposes of this motion, the Court accepts as               However, “[c]ourts in this District ... evaluate motions to
true the following facts from the second amended complaint.                strike class allegations under Rule 23, not Rule 12(f).”
Alam v. Miller Brewing Co., 709 F.3d 662, 665–66 (7th Cir.                 Buonomo v. Optimum Outcomes, Inc., 301 F.R.D. 292, 295



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(N.D. Ill. 2014). Federal Rule of Civil Procedure 23 states that    between helpers for scheduled moves; (4) Dolly prohibited
“[a]t an early practicable time after a person sues or is sued      helpers from performing or soliciting independent services
as a class representative, the court must determine by order        for customers; (5) Dolly required training on their policies and
whether to certify the action as a class action.” Fed. R. Civ.      procedures; (6) Dolly exercised discipline over helpers who
P. 23(c)(1)(A). If the class allegations in the complaint “are      did not follow Dolly policies, including paycheck deductions
facially and inherently deficient ... a motion to strike class      and the right to “deactivate” helpers; (7) Dolly mandated
allegations can be an appropriate device to determine whether       work methods through frequent e-mail communications and
the case will proceed as a class action.” Buonomo, 301 F.R.D.       required that work be completed in specific timeframes; and
at 295 (internal quotation omitted).                                (8) Dolly required Dolly attire to be worn at job-sites. Taken
                                                                    together, these allegations demonstrate a notable level of
                                                                    control exercised by Dolly and are sufficient to plead the
                                                                    existence of an employer-employee relationship at the motion
                        DISCUSSION
                                                                    to dismiss stage. Given that this relationship was adequately
Dolly moves the Court to dismiss the Plaintiffs’ claims for two     plead, the Court will address the sufficiency of the underlying
reasons: (1) the Plaintiffs are not employees, which is required    minimum wage claims.
to bring minimum wage claims under these statutes, and (2)
the Plaintiffs have not alleged sufficient facts to state a claim
                                                                       B. Sufficiency of FLSA, IMWL, and CMWO Claims
for relief. Additionally, Dolly moves to strike the Plaintiffs’
                                                                    The FLSA provides that “every employer shall pay to each
class allegations due to lack of typicality. The Court addresses
                                                                    of his employees who in any workweek is engaged in
each argument in turn.
                                                                    commerce ... not less than—$7.25 an hour.” 29 U.S.C. § 206.
                                                                    The Seventh Circuit has held that FLSA violations are not
I. Motion to Dismiss                                                measured on an hourly basis, but rather by the employee's
                                                                    average wages over the course of the workweek. Hirst v.
   A. Whether the Plaintiffs Are Employees                          SkyWest, Inc., 910 F.3d 961, 965 (7th Cir. 2018). Therefore,
Liability for unpaid wages under the statutes at issue              to state a claim under the FLSA, “the plaintiffs must plausibly
only extends in the employer-employee context. Boyce v.             allege at least one workweek for which the compensation they
SSP America MDW, LLC, 2019 WL 3554153, *2–3 (N.D.                   received, divided by their total compensable time, failed to
Ill. 2019); Shages v. MDScripts Inc., 2019 WL 2327651,              meet the FLSA minimum wage of $7.25 per hour.” 2 Hirst
*2 (N.D. Ill. 2019). Courts do not rely on “formalistic             v. SkyWest, Inc., 283 F.Supp.3d 684, 691 (N.D. Ill. 2017),
labels or common law concepts of agency” to determine               affirmed by Hirst, 910 F.3d at 966.
whether an employer-employee relationship exists. Boyce,
2019 WL 3554153, at *3 (internal citation omitted). Rather,          *3 This Court previously dismissed the Plaintiffs’
“courts must examine the economic reality of the working            allegations for failure to state the amount they were
relationship” by assessing “the totality of the circumstances.”     compensated for any workweek and the number of hours
Id. In conducting this analysis, courts look at “whether the        worked within that timeframe. Vann v. Dolly, Inc., 2019
defendant (1) had the power to hire and fire the employee,          WL 1785589, *2 (N.D. Ill. 2019). With respect to Plaintiff
(2) supervised and controlled the employee's work schedule          Van Wills, these problems persist in the second amended
and conditions of employment, (3) determined the rate               complaint. The only allegations concerning Van Wills are
and method of payment, and (4) maintained employment
                                                                    based on information and belief, 3 and lack the factual support
records.” Id.
                                                                    required by the Court's initial opinion. Indeed, the allegations
                                                                    regarding Van Wills do not state his hours worked or rate of
The Plaintiffs allege that an employer-employee relationship
                                                                    pay for a weeklong date range, as required to state a minimum
existed between Dolly and themselves because: (1) Dolly
                                                                    wage violation. Accordingly, the claims as to Van Wills are
controlled their rate of payment by setting rates charged to
                                                                    dismissed with prejudice.
customers for moving services and preventing them from
negotiating higher rates based on unexpected work; (2)
                                                                    With respect to Plaintiffs Vann and Walker, those deficiencies
Dolly controlled the payment of compensation after the
                                                                    were corrected in the second amended complaint. Vann stated
moving services were completed by the Plaintiffs; (3) Dolly
                                                                    that during the week of September 4, 2016, he earned eighty-
controlled job assignments and the division of responsibilities


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four dollars and worked for 11.5 hours performing moving            unless the deductions are: (1) required by law; (2) to the
services. This equates to an hourly rate of $7.30, which is less    benefit of the employee; (3) in response to a valid wage
than the IMWL and the CMWO. However, he also alleged                assignment or wage deduction order; or (4) made with the
that he worked an additional forty-eight hours of unpaid time       express written consent of the employee, given freely at the
reviewing jobs, making bids, accepting jobs, and reviewing          time the deduction is made.” Costello v. BeavEx, Inc., 810
e-mail instructions from Dolly regarding his services. When         F.3d 1045, 1050 (7th Cir. 2016) (internal quotation omitted).
accounting for this time, his hourly rate fell to approximately
$1.41. Vann also alleges that during the week of September          However, the IWPCA narrowly defines wages as “any
24, 2016, 4 he earned ninety-five dollars in wages for 21.476       compensation owed an employee by an employer pursuant
hours of work, bringing his hourly wage to $4.42. Both of           to an employment contract or agreement between the [two]
these rates fall below that mandated by the FLSA, IMWL, and         parties....” 820 ILCS 115/2. “As such, to state a claim under
CMWO.                                                               the IWPCA, the [plaintiffs] are required to demonstrate that
                                                                    they are owed compensation from defendants pursuant to
Similarly, Walker alleged that during the week of April             an employment agreement.” Enger, 812 F.3d at 568 (citing
15, 2018, he worked one on-site job for fifty-one minutes           Dominguez v. Micro Ctr. Sales Corp., 2012 WL 1719793
and was paid $49.00. Further, he alleged that he spent an           (N.D. Ill. 2012) (“[T]he IWPCA mandates overtime pay or
additional seventy-four hours of unpaid time during that            any other specific kind of wage only to the extent the parties’
week, completing largely the same tasks found in Vann's             contract or agreement requires such pay.”)). As the Seventh
allegations. When accounting for this time, Walker's hourly         Circuit has held, “the IWPCA provides no substantive relief
rate fell to $1.53—a rate below what is required by the FLSA,       beyond what the underlying employment contract requires.”
IMWL, and CMWO.                                                     Enger, 812 F.3d at 570.


Dolly asserts that the Plaintiffs cannot plead general              In granting Dolly's initial motion to dismiss the Plaintiffs’
assertions of unpaid time to make their hourly rate fall below      IWPCA claims, we noted that the Plaintiffs only asserted
the minimum wage. They note that in Hirst v. SkyWest, Inc.,         conclusory allegations of an agreement, devoid of any details
this District rejected “allegations to the effect that employees    as to what the parties agreed. Vann, 2019 WL 1785589,
frequently or typically performed uncompensated work” as            *3. While the Plaintiffs have asserted the existence of a
speculative for purposes of FLSA claims. 283 F. Supp. 3d            “Helper Agreement” in their second amended complaint, that
684, 694 (N.D. Ill. 2017). While this holding is correct, it is     agreement does not specify a certain agreed upon rate of pay.
distinguishable from the allegations at issue here. In Hirst, the   Moreover, the agreement includes a list of activities for which
plaintiffs alleged that “during some unknown week or weeks,         the Plaintiffs would receive compensation, including loading,
they worked enough off-duty hours to drive their effective          unloading, moving, hauling, lifting, packing, and assembling
wages below $7.25 [per] hour.” Id. at 695. They did not state       or disassembling property—all of which fall outside of the
the total number of uncompensated hours or link that number         alleged uncompensated activities. Absent an agreement to pay
to a particular week. Unlike the Hirst plaintiffs, Vann and         the Plaintiffs a certain wage, the Plaintiffs’ IWPCA claims
Walker alleged a specific number of uncompensated hours             cannot proceed.
for a particular workweek, allowing the Court to calculate
their hourly wages and assess whether they fell below the           The Plaintiffs attempt to salvage their IWPCA claim by
minimum wage. Accordingly, these allegations suffice to             noting that Dolly's website advertises “Helpers, Make $30/
stave off a motion to dismiss, and Dolly's motion to dismiss        hr or more” and “Hands, Make $15/hr or more.” 1:18-
                                                                    cv-4455, Dkt. 36, Pg. 8. However, this advertisement does not
Counts I, II, and III is denied as to Vann and Walker. 5
                                                                    constitute an agreement, but “merely an invitation to make an
                                                                    offer.” O'Keefe v. Lee Calan Imports, Inc., 128 Ill. App. 2d
  C. Sufficiency of IWPCA Claim                                     410, 412 (Ill. App. Ct. 1970). Accordingly, Dolly is not bound
 *4 The IWPCA gives employees “a cause of action against            by this advertisement, and this allegation cannot provide the
employers for the timely and complete payment of earned             foundation for an IWPCA claim. As such, Dolly's motion to
wages.” Enger v. Chi. Carriage Cab Corp., 812 F.3d 565,             dismiss Count IV is granted.
568 (7th Cir. 2016). “In particular, the IWPCA prohibits
employers from taking deductions from employees’ wages
                                                                    II. Motion to Strike


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                                                                      Plaintiffs have only alleged harms suffered by those employed
Finally, Dolly moves to strike the Plaintiffs’ class allegations
                                                                      as “helpers,” not in any other capacity. Therefore, defining
pursuant to Federal Rule of Civil Procedure 23. Under Rule
                                                                      the class as “all individuals who were employed by Defendant
23, the party seeking class certification must demonstrate that:
                                                                      Dolly, Inc. to perform moving services” would capture
(1) the class is so numerous that joinder of all members is
                                                                      individuals who have not suffered the harms complained of in
impracticable; (2) there are questions of law or fact common
to the class; (3) the claims or defenses of the representative        the second amended complaint. Loreto v. Procter & Gamble
parties are typical of the claims or defenses of the class;           Co., 2013 WL 6055401, at *4 (S.D. Ohio 2013) (“A class
and (4) the representative parties will fairly and adequately         is overbroad if it includes significant numbers of consumers
protect the interests of the class. Fed. R. Civ. P. 23(a)(1)–(4).     who have not suffered any injury or harm.”). Given that
Dolly asserts that the Plaintiffs’ class allegations lack the third   the defined class is facially overbroad, it is appropriate to
element, typicality, because they are overbroad.                      strike the class allegations at the pleadings stage. Miles v.
                                                                      Am. Honda Motor Co., Inc., 2017 WL 4742193, *5 (N.D. Ill.
The Plaintiffs propose four alleged class definitions in the          2017) (“[C]ourts may strike class allegations at the pleading
second amended complaint—one for each of the statutes at              stage when they are facially and inherently deficient....”)
issue. Given that the only remaining claims arise under the           (internal quotation omitted). Therefore, the motion to strike
FLSA, IMWL, and CMWO, the Court will only consider                    is granted.
those definitions.

 *5 The Plaintiffs’ proposed class definition under the FLSA                                CONCLUSION
and IMWL is: “All individuals who were employed by
Defendant Dolly, Inc. to perform moving services, in Illinois         For the aforementioned reasons, the Court grants in part and
during the past three years.” 1:18-cv-4455, Dkt. 36, Pgs. 10,         denies in part Dolly's motion to dismiss and grants the motion
11. The proposed class definition under the CMWO is: “All             to strike. It is so ordered.
individuals who were employed by Defendant Dolly, Inc. to
perform moving services, in the geographic limits of the City
                                                                      All Citations
of Chicago during the past three years.” Id. at 11.
                                                                      Not Reported in Fed. Supp., 2020 WL 902831
Under either definition, the defined class is too broad because
it exceeds the scope of the Plaintiffs’ allegations. The




                                                              Footnotes


1       1:18-cv-4455, Dkt. 27.

2       This test also applies to the Plaintiffs’ claims under the IMWL (mandating $8.25 per hour) and the CMWO
        (mandating $10.50 per hour). See Nassis v. LaSalle Executive Search, Inc., 2018 WL 2009502, *8–9 (N.D.
        Ill. 2018). The only additional requirement for claims under the CMWO is “that the employee performs at least
        two hours of work for an Employer while physically present in Chicago.” Id. at *9 (internal quotation omitted).

3       “On merits issues, information and belief allegations are perfectly fine ... where the basis for the contention
        is not something properly within plaintiff's personal knowledge. But where something is alleged which should
        be within a plaintiff's personal knowledge, an information and belief allegation thrusts the complaint into the
        realm of speculation.” Brickstructures, Inc. v. Coaster Dynamix, Inc., 2017 WL 4310671, *4 (N.D. Ill. 2017).

4       The second amended complaint incorrectly alleged that this incident took place in 2017. However, the
        Plaintiffs asked the Court to take judicial notice that this was simply a typographical error, and the allegation




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       should be dated in 2016 along with the other allegations. The Court grants this request and considers the
       allegation as if it was plead to state that the incident occurred in 2016.

5      Dolly also relies on Butler v. East Lake Management Group, Inc., arguing that this case establishes that
       the Plaintiffs’ claims are barred by the statute of limitations. 2012 WL 2115518, *5 (N.D. Ill. 2012). The
       Court disagrees. Unlike in Butler, the Plaintiffs included their FLSA, IMWL, and CMWO claims in their initial
       complaint. Accordingly, the relation back doctrine preserves their claims for statute of limitations purposes.
       Joseph v. Elan Motorsports Technologies Racing Corp., 638 F.3d 555, 558 (7th Cir. 2011).



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